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                           UNITED STATES DISTRICT COURT

                           MIDDLE DISTRICT OF LOUISIANA

BRIAN MCNEAL                                    :         CIVIL ACTION

                                                :         NO. 18-736-JWD-EWD
VERSUS
                                       :      JUDGE JOHN W. deGRAVELLES
LOUISIANA DEPARTMENT OF PUBLIC
SAFETY & CORRECTIONS, JAMES
LeBLANC, TIM HOOPER,                   :      MAGISTRATE JUDGE
ROBIN MILLIGAN,                               ERIN WILDER-DOOMES
DOES 1-10, ABC INSURANCE
COMPANIES
******************************************************************************
                           MOTION TO SUBSTITUTE

       NOW INTO COURT, through undersigned counsel, come the appearing defendants, the

Louisiana Department of Public Safety & Corrections (“DPS&C”), Secretary James LeBlanc,

Warden Tim Hooper, and Robin Milligan, who respectfully request that this Honorable Court

grant the instant motion, and to substitute the attached Notice of Removal for the original filed

version. The caption in the original Notice of Removal (R. Doc. 1) incorrectly spells Mr. Brian

McNeal’s last name as “McNeil.” As such, defendants respectfully request that the attached

amended Notice of Appeal substituted into the record of this proceeding as Record Document 1.

       WHEREFORE, appearing Defendants, the Louisiana Department of Public Safety &

Corrections, Secretary James LeBlanc, Tim Hooper, & Robin Milligan, hereby request that the

attached amended Notice of Removal be substituted for the originally filed version.

Signature on Next Page




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                                          Respectfully submitted,

                                          JEFF LANDRY
                                          ATTORNEY GENERAL

                                    BY:   /s/ James G. Evans
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                                          Attorney for DPS&C, James LeBlanc, Tim Hooper,
                                          & Robin Milligan

                              CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on the 2nd day of August, 2018, the foregoing was

filed electronically with the Clerk of Court by using the CM/ECF system. Notice of this

filing will be sent to all parties who participate in electronic filing by operation of the

court’s electronic filing system.

                                    /s/ James G. Evans
                                      James G. Evans




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